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1N THE UNITED STATES I)ISTRICT Co URT 05 f "'»/'1'. t_ ,d»;,q

FoR THE WESTERN DIsTRICT 0F TENNESSEE "`“"<°;
EASTERN I)IVISION ,

AMERISURE INSURANCE COMPANY

 

Plaintiff,

v. No. 1-04-1 159-T/An
H&M CONSTRUCTION COMPANY, INC.,
BPB AMERICA, INC., d/b/a BPB CELOTEX
(Successor in Interest to Celotex Corporation),
and BMH AMERICAS, INC.,

Dcfendants.
ORDER FOR ADMISSION PRO HAC VICE

Defendant BPB America, lnc. d/b/a BPB Celotex (successor in interest to Celotex
Corporation) ("BPB America") has moved this Court to admit J ames 1\/1. Gary to practice pro hac
vice in this case. The Court is otherwise sufficiently advised.

IT IS HEREBY ORDERED that the Motion for Admission Pro Hac Vice of James M.
Gary is GRANTED and that Mr. Gary is hereby admitted to practice pro hac vice as counsel for
BPB America in this matter.

- `/
Entered thls day of , 2005.

UnitWés District Jud§e

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Thts document entered on the do
with Rule 58 and.'or_ 19 (a) FRCP on

Case 1:04-cv-01159-.]DT-STA Document 20 Filed 06/27/05 Page 2 of 3 Page|D 32

Tendered by:

%M

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Counselfor Defendant BPB Amerz`ca, Inc.
cL/b/a BPB Celotex (Successor in inferesr to Celolex
Corporaffon)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:04-CV-01159 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

